                    Case 3:24-cv-00584-JWD-RLB                                           Document 13-1                12/13/24   Page 1 of 10
12/13/24, 11:12AM                                                                              Bipolar Disorder Diagnosis.png



                                               DIVINE INTERVENTION REHABIUTATION, LLO
                                                       MEDICATION INFORMED CONSENT


             frimtOmUGtoKm. DOS 3^7(1891
             Account Nurt>T,OIV-004t4

             The Specific Condition (s) being treated Include (s) PsydWacUve Medteatton:

             ModteaUon Movftio Foman)
              M«Uc«d—                                          jAaes!!ad"tjr"*ul...... .-„.
              guafacmcHCl            Img             Daily      SADHD
              Lamoteigine            lOOmg           Daily     JJDtgmdon & Anxiety
              Zyprexa                7.5ag           Duty       DeprtssionAAmiety
              Paxil                  lOmg            Daity      Depressioixfe Anxiety

             has been prescribed for
              a ADD/ADHD disorder                   D Impulse Control Disorder 0 Sleeping Disorder
             a Adjustment Dlwder                    a Mood Disorder W/psychottc 0 Severe Depression
              a AgHaUon                             0 Obsessive Compulshe Disorder B Anxiety Disorder
             a Sodatty Withdrawn                    a Panic Disorder 0 Tourette syndrome
             a Bpolar Disorder                      a Paranoia 0 Catatonla
             0 Delustanal Disorder                  D PsychotlcDfeordw a Sctilzophrenla

              The expected baneffl(s) from the nwflcatfon Intervention Includes:
              8 Improved Functional ability D Reduced Adverse behavior

              The clinically stgniflcant side effects posslbty assoclaled with this medteatton mieiventton
              Included, but am not limited to;
              B Mood StablUzer Itching, Rash, Excessive thirst. Frequent Urinatton, Tremor of hands,
                 slurred speed), fast, stow, Irregular, or pounding heartbeat. Blackout

              a Antft»sychoaKBh)iTedvteton,conftiston,Droolli^,D(y mouth. Increased risk of death,
                  Involuntary movement. Muscle righfity. Restlessness, Sedatton, Sleep disturbance,
                    StHTness.

              S Antfanxlety: Appettte change. Blurred vision, confusion, Dizziness, Drowslness. Fatigue,
                  Hypotenston, Nightmare, sedatlon. Slurred speech. Urinaiy retention Dry mouth,

              0 Sedative Hypnotic: Anxiety. Confuston, Dtelness, Fatigue, Haltudnatton, Headache,
                    Llghtheadednass, Mania, Nightmare. Sedatfon, syncope.




              0 AnUdepressanC Appetite change. Blurred vlston, Constipation, Diy mouth, Dyspepsla,
                    Headaches, Hypotenston, Insomnla, Weight changes, Urtiary retentfon

              a Psychomotor Stimulants; Anorexto, Dry mouth, impaired tasts, Insomnla, Nervousness


              By signing this consent, t give my full consent for the use of the medication Indicated above. I
              have recelvad educatton regarding this medication. Including skte effect, proper usage,
              noncompliance with medication and black box warnings,

              Patient algnahira
                                                          -4                    Oito.     ^(0/2022,
                GB B«o.<ul*5»^"


               x ^"
                UntoW.ftmWP
                MtdkalPlydutoa'at
                Si)»ed Iff. (im>d2-1344-48«2.bt»f.kM3?5B7»l




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                     Case 3:24-cv-00584-JWD-RLB                Document 13-1         12/13/24   Page 2 of 10
12/13/24, 11:16 AM                                                    IMG_2799.jpg



                                                      .*iW'




       Accommodation
       :jBEiwwst1i|l]ifS'jsnwni;|


               M^rtD<8partm©nt@Amtfay.com •
               <Nite(dep»artinen®amtravjcwn» *
               to Teny <twyir€|amtw,com>
                Aug 2,2:38 PW i|B^
        HiTterry!

        So I've been diagnosed with blpolardtsorcter for
        about 4 years. lfm pretty stable the majority of the
        time, but there are times when I need a intermittent
        day off, I told SjMa while I was under her during
        training sndl told Rebecca today.

  I-
   I If (just need an excuse from my doctor that's not a
   i protilem to get. I understand that I can't get a
        blanket excuse but I can get one any time this
        happens tn the future

   I Just let me (mow what you guys need and I I get it
   I over to you.

        Thanks!
        David




https://mail.google.com/mail/u/0/#inbox?projector=1                                                            1/1
                 Case 3:24-cv-00584-JWD-RLB                      Document 13-1            12/13/24        Page 3 of 10
12/13/24, 11:17 AM Gmail - Fw: Accommodation Form




 M Gmail                                                                            David Gibson <david.gibson0902@gmail.com>




  Fw: Accommodation Form
 2 messages

 davidg@amtrav.com <davidg@amtrav.com> Wed, Oct 12, 2022 at 3:39 PM
 Reply-To: davidg@amtrav.com
 To: david.gibson0902@gmail.com




    David Gibson
      Travel Advisor


     AAmTrav
          800-795-8371

          SupportQiAmtrav.com

          www.amtrav.com




            Forwarded message
    From: samanthal@amtrav.com
    Date: October 12, 2022 at 3:37 PM CDT
    Subject: Accommodation Form
    To: davidg@amtrav.com
    Cc: terryr@amtrav.com

    Hi David,

    Attached is an accommodation form for your doctor to fill out. Please submit this to them and have them return to us. It is
    important we receive this sooner than later. The form can be sent to myself or Terry.

    If you have any questions please feel free to reach out to myself or Terry.




         A
                                      Samantha Lagarenne
                                      HR Generalist
                                      Human Resources | AmTrav



     AmTrav
                                           818-475-6837

                                           samanthal@amtrav.com



          ADA Medical Certification.docx
          32K


  David Gibson <david.gibson0902@gmail.com> Thu, Oct 13, 2022 at 11:27 AM
  To: Korie Marrone <kmarrone@dirnola.com>

https://mail.google.com/mail/u/0/?ik=f7c792da9f&view=pt&search=all&permthid=thread-f:1746515732806414280&simpl=msg-f:174651573280641428... 1/3
                    Case 3:24-cv-00584-JWD-RLB                  Document 13-1              12/13/24       Page 4 of 10
12/13/24,11:14 AM                                                        Gmail - Meeting 10/18




  M Gmail                                                                            David Gibson <david.gibson0902@gmail.com>




  Meeting 10/18
  3 messages

  David Gibson <david.gibson0902@gmail.com>                                                                Man, Oct 17, 2022 at 7:53 PM
  To: Rebecca Gavin <rebeccag@amtrav.com>

     Hi Rebecca,

     I have meeting with Samantha in HR concerning my disability and absences. Would you like to join the zoom? I would
     really appreciate it. It's for 1:15 CST.

     - David


  Rebecca Gavin <rebeccag@amtrav.com> Tue, Oct 18, 2022 at 9:04 AM
  To: David Gibson <david.gibson0902@gmail.com>, Samantha Lagarenne <samanthal@amtrav.com>

     Sure, no problem.


     Samantha,
     Can you please add me to the invite.

     Thanks
     Rebecca
     [Quoted text hidden]




                                      Rebecca Gavin
                                      Vice President of Operations
                                      Traveler Services | AmTrav




                                            312-525-9803

                                            rebeccag@amtrav.com

                                            www.amtrav.com




                                        |"Refer a Friend"!




   Samantha Lagarenne <samanthal@amtrav.com>                                                                Tue, Oct 18, 2022 at 9:07 AM
   To: Rebecca Gavin <rebeccag@amtrav.com>
   Cc: David Gibson <david.gibson0902@gmail.com>

 https://mail.google.com/mail/u/0/?ik=f7c792da9f&view=pt&search=all&permthid=thread-f:1746984662208993H3&simpl=msg-f:174698466220899311... 1/2
                   Case 3:24-cv-00584-JWD-RLB                   Document 13-1             12/13/24       Page 5 of 10
12/13/24, 11:14 AM Gmail - Meeting 10/18


    Absolutely. I will add you right now.
    [Quoted text hidden]




          A
                                     Samantha Lagarenne
                                     HR Generalist
                                     Human Resources I AmTrav



    AmTrav
                                            818-475-6837

                                            samanthal@amtrav.com




https://mail.google.com/mail/u/0/?ik=f7c792da9f&view=pt&search=all&permthid=thread-f:1746984662208993H3&simpl=msg-f:1746984662208993H... 2/2
                  Case 3:24-cv-00584-JWD-RLB                     Document 13-1             12/13/24        Page 6 of 10
12/13/24, 11 :27 AM Gmail - Arbitration Agreement




 Ml Gmail                                                                            David Gibson <david.gibson0902@gmail.com>




 Arbitration Agreement
 2 messages

 David Gibson <david.gibson0902@gmail.com> Mon, Mar 4, 2024 at 8:42 AM
 To: terryr@amtrav.com, Rebecca Gavin <rebeccag@amtrav.com>, samanthal@amtrav.com

    Good Morning All,

    Did I sign an arbitration agreement when I was hired?

    If so can you send me a copy along with my signature and date?

    Thanks,
    David


  Terry Robin <TerryR@amtrav.com> Mon, Mar 4, 2024 at 1:01 PM
  To: David Gibson <david.gibson0902@gmail.com>
  Cc: Rebecca Gavin <rebeccag@amtrav.com>, samanthal@amtrav.com

    Hello David,

    AmTrav does not have an Arbitration agreement. I have attached our 2022 version of the handbook along with your
    signature acknowledging it. The handbook states how we investigate and handle claims.

    Best Regards,

    [Quoted text hidden]


     2 attachments

          34640Events4840850Tasks99861897EmployeeHandbookwi_4_22_202212_59PM.pdf
          77K
          ATS Final Handbook 2022.pdf
          604K




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                       Case 3:24-cv-00584-JWD-RLB                                    Document 13-1                    12/13/24             Page 7 of 10
Leview Task Summary David oibson
                                                                                                  Task Name: Employee Handbook with Acknowledgment




Employee Handbook v/itb Acknowledgment
 Instructions: ACKNOWLEDGMENT AND AGREEMENT
 Instructions: This is to acknowledge that I have received a copy of the ATS Employee Handbook and understand that it sets forth the terms and conditions of my employment
 as well as the duties, responsibilities, and obligations of employment with ATS. I understand and agree that it is my responsibility to read the Employee Handbook and to abide
 by the rules, policies, and standards set forth in the Employee Handbook.
 Instructions: I also acknowledge that, except for the policy ofat-will employment and the separate ATS Alternative Dispute Resolution Program, ATS reserves the right to
 revise, delete, and add to the provisions of this Employee Handbook. All such revisions, deletions, or additions must be in writing and must be signed by the CEO ofATS. No
 oral statements or representations can change the provisions of this Employee Handbook. I also acknowledge that, except for the policy ofat-will employment and the separate
 ATS Alternative Dispute Resolution Program, terms and conditions of employment with ATS may be modified at the sole discretion ofATS with or without cause or notice at
 any time. No implied contract concerning any employment-related decision, term of employment, or condition of employment can be established by any other statement,
 conduct, policy, or practice.
 Instructions; I also acknowledge that my employment with ATS is not for a specified period of time and can be terminated at any time for any reason, with or without cause or
 notice, by me or by ATS. I acknowledge that no oral or written statements or representations regarding my employment can alter the foregoing. I also achiowledge that no
 Supervisor, Manager or Employee has the authority to enter into an employment agreement-express or implied-providing for employment other than at will.
 Instructions: I understand that the foregoing agreement concerning my at-will employment status and the right ofATS to determine and modify (he terms and conditions of
 employment is the sole and entire agreement between me and ATS concerning the duration of my employment, the circumstances under which my employment may be
 terminated, and the circumstances under which the terms and conditions of my employment may change. I further understand that this agreement supersedes all prior
 agreements, understandings, and representations concerning my employment with ATS.
 Instructions: DRUG-FREE WORKPLACE AND SUBSTANCE ABUSE POLICY ACKNOWLEDGMENT OF RECEIPT
 Instructions: I acknowledge that I have received my copy of the ATS Drug-Free Workplace and Substance Abuse Policy dated August 2019, that outlines the drug and
 alcohol use and testing policies of the ATS, and I have read, and I understand the information contained in the Policy.
 Instructions: HARASSMENT, DISCRIMINATION, AND RETALIATION POLICY ACKNOWLEDGMBNT OF RECEIPT
 Instructions: I acknowledge that I have received my copy of the ATS Harassment, Discrimination, and Retaliation Policy dated August 2019, that outlines the. harassment,
 discrimination, and related retaliation policies of the ATS, and I have read, and I understand the information contained in the Policy.
 Instructions: TECHNOLOGY AND INTERNET POLICY ACKNOWLEDGMENT OF RECEIPT
 Instructions: I acknowledge that I have received my copy of the ATS Technology and Internet Policy dated August 2019, that outlines the drug and alcohol use and testing
 policies of the ATS, and I have read, and I understand the mformation contained in the Policy,
 Signahire:


  /Qavtjd. JJcijOft ^A.
 By signing this document you are legally bound to the agreements contained within.
 Acknowledged By: David Gibson
 Acknowledged IP: 45.31.203.45
 Acknowledged Date: 4/22/2022 5:58:16 PM (UTC)
    Case 3:24-cv-00584-JWD-RLB                Document 13-1         12/13/24      Page 8 of 10




Nov 28, 2022

Dear David Gibson,

Effective 10/28/2022, your employment with AmTrav has been terminated.

You will receive your final paycheck in the amount of $1421.26. You will receive this the next
payroll cycle. The pay date for this payroll will be 11/04/2022. If you do not receive this, please
contact us immediately.

If you have any health benefits, your coverage will end on 10/31/2022. Our health benefits will
send out information to continue your benefit choices via COBRA. If you do not receive this
within 15 business days, please reach out to 800-833-0465.

If you participated in the company's retirement plan, this account is yours and will continue to
have access to it through Amerita.com. No further deposits will be made, but the account will
remain invested. You have the choice to leave it as is or roll it over into a different 401 K plan.
You need to contact them directly with all questions, as your account will no longer be
administered by AmTrav. You may reach them at 800-277-9739.

At the start of your employment, AmTrav provided you with a work laptop. IT will be sending you
a shipping label in the next couple of business days via your personal email. Please pack and
ship this back to us asap. If we do not receive this laptop within 15 business days, you may
receive an invoice requesting reimbursement to order a brand new one.

If you have questions or concerns, please contact the HR department at hr@amtrav.com.




Sincerely,

AmTrav Human Resources
                Case 3:24-cv-00584-JWD-RLB                       Document 13-1             12/13/24        Page 9 of 10
12/13/24, 11 :25 AM Gmail - Fw: Accommodation Form




 M Gmail                                                                             David Gibson <david.gibson0902@gmail.com>




  Fw: Accommodation Form
 2 messages

 davidg@amtrav.com <davidg@amtrav.com> Wed, Oct 12, 2022 at 3:39 PM
 Reply-To: davidg@amtrav.com
 To: david.gibson0902@gmail.com




    David Gibson
       Travel Advisor


     AAm^av
          800-795-8371

          Support(a).Amtrav.com

          www.amtrav.com




            Forwarded message
    From: samanthal@amtrav.com
    Date: October 12, 2022 at 3:37 PM CDT
    Subject: Accommodation Form
    To: davidg@amtrav.com
    Cc: terryr@amtrav.com

    Hi David,

    Attached is an accommodation form for your doctor to fill out. Please submit this to them and have them return to us. It is
    important we receive this sooner than later. The form can be sent to myself or Terry.

    If you have any questions please feel free to reach out to myself or Terry.




          A
                                      Samantha Lagarenne
                                      HR Generalist
                                      Human Resources I AmTrav



     AmTrav
                                            818-475-6837

                                            samanthal@amtrav.com



          ADA Medical Certification.docx
          32K


  David Gibson <david.gibson0902@gmail.com> Thu, Oct 13, 2022 at 11:27 AM
  To: Korie Marrone <kmarrone@dirnola.com>

https://mail.google.com/mail/u/0/?ik=f?'c792da9f&view=pt&search=all&permthid=thread-f:1746515732806414280&simpl=msg-f:174651573280641428... 1/3
                 Case 3:24-cv-00584-JWD-RLB                      Document 13-1             12/13/24         Page 10 of 10
12/13/24, 11:25 AM Gmail - Fw: Accommodation Form


    Good Morning,

    Can you fill this out for me? I'm asking for 3 days off a month in case I get sick or have issues with meds.

    HR is trying to write me up for missing when we had that issue with my meds. Even though we sent an excuse.

    I don't think they can do that since I have a disability. If they send it I'm not signing it. I'll probably get in touch with the
    EEOC or a disability lawyer.

    - David


    Begin forwarded message:



              From: davidg@amtrav.com
              Date: October 12, 2022 at 3:39:57 PM CDT
              To: david.gibson0902@gmail.com
              Subject: Fw: Accommodation Form
              Reply-To: davidg@amtrav.com




              David Gibson
                Travel Advisor




                   800-795-8371




                   SuBport(%Amtrav.com




                   www.amtrav.com




                      Forwarded message
              From: samanthal@amtrav.com
              Date: October 12, 2022 at 3:37 PM CDT
              Subject: Accommodation Form
              To: davidg@amtrav.com
              Co: terryr@amtrav.com

              Hi David,

              Attached is an accommodation form for your doctor to fill out. Please submit this to them and have them
              return to us. It is important we receive this sooner than later. The form can be sent to myself or Terry.


https://mail.google.com/mail/u/0/?ik=f7c792da9f&view=pt&search=all&permthid=thread-f: 1746515732806414280&simpl=msg-f: 174651 573280641428... 2/3
